      Case 1:18-cv-02981-LAK-DCF Document 39 Filed 06/22/18 Page 1 of 1


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Christopher Pei
40 Lake Dr.
Apt. 4
East Amherst, NY                                                                       JLIDGl~ ',',' " ., . ··" . . " .• ,
14051
(585) 645-7635

June 20, 2018                                   USDCSDNY
                                                DOCUMENT
Hon. Lewis A. Kaplan, U.S.D.J.                  ELECTRONICALLY FILED
United States District Court- S.D.N.Y.
500 Pearl St.
                                                DOC#:                              I


NewYork,NY                                      DATE FILED: rl / :i.2- / rt
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1007

Dear Honorable Judge Kaplan,

My name is Christopher Pei, and I am representing myself in the 18-cv-02981 case. I would like to thank you
for your time in advance, and ask if special consideration could possibly be given with regard to the 26(f)
conference that is scheduled on Tuesday, June 26, 2018 at l 0:30am.
                                                                                                                                  I
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I am currently a student at the University at Buffalo, residing in Buffalo, New York, and am having difficulty
in preparing for the commute to New York. I have been officially diagnosed with autism, and have difficulty
sleeping due to several conditions including sleep apnea. Because of my inability to get sufficient rest, it is
extremely difficult for me to drive long distances due to severe fatigue and drowsiness. My mother has offered
                                                                                                                                  I
to help drive me, but she also has difficulty driving long distances due to her insomnia, bipolar disorder, and
her caregiving of my sister who has severe autism as I am a caregiver over her also. My mother's most recent
attempt to travel to New York was brought to a halt due to a serious accident involving a deer that totaled her
vehicle, after only barely one hour of travel. I have also considered other methods of travel, such as train, but
                                                                                                                                  I
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the overwhelming expenses involved with the entire trip make it very challenging for me. I would also like to
mention that the main reason I am representing myself is due to my financial inability to afford counsel.

I must admit that I am completely unfamiliar with the procedure for any of this, and [ do sincerely apologize in
                                                                                                                                  I
advance for my lack of understanding and anything caused by it. I have tried to research the details of the
process and the meaning of this meeting, but due to my poor English abilities, I am still having trouble
comprehending everything.                                                                                                         II
I am wondering, with my explanation of the circumstances and challenges that I am facing, ifit would be
somehow possible for me to be a part of this conference in any way, absent my physical presence, for example,                     I
through a phone conference or some such. I only recently was able to have confirmed that this would normally
involve a physical meeting in the comt room so I apologize that I have not written sooner.

Sincerely,
Christopher Pei
